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                                           Southern                      California



                                                                                           20mj2561
   Information associated with a cellular telephone number
   619-890-9047 that is stored at premises
   controlled by Verizon Wireless




See Attachment A-2, incorporated herein by reference.

                 Federal                            New Jersey


See Attachment B-2, incorporated herein by reference.


            X
            X
            X




         18 U.S.C. §§ 1591, 2423, 2251, 2252            Sex trafficking of children, Transportation of Minors for Prostitution,
                                                        Production of Child Pornography, Possession of Child Pornography



        See Attached Affidavit of FBI Special Agent Jonathan A. Reynolds, incorporated herein by reference.




      telephone

       6/26/2020


                San Diego, California                                               Hon. Mitchell D. Dembin , US Magistrate Judge
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